

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-73,371-01






WAINER RENTERIA, Relator


v.


HARRIS DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 1047515 IN THE 228th JUDICIAL DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 228th  Judicial District Court of Harris County, that more than 35 days have elapsed, and that
the application has not yet been forwarded to this Court. It appears that the application referenced
by Relator, allegedly filed in the district court in August 2009, was the second 11.07 application filed
under this cause number.  This Court has been informed of an order designating issues which was
signed by the trial court in April 2009, prior to the application referenced by Relator.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Harris County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus application; submitting a copy of a timely filed order which designates issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that the
nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Harris County. If the District Clerk submits a copy of an order
designating issues, the Clerk shall also inform this Court the date that the State was served with the 
11.07 writ application referenced by Relator.  The respondent shall also inform this Court whether
this second application is being treated as a supplement to the first application or is being treated as
a completely separate filing.

	This application for leave to file a writ of mandamus shall be held in abeyance until the
respondent has submitted the appropriate response.  Such response shall be submitted within 30 days
of the date of this order.



Filed: February 3, 2010

Do not publish	


